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11   Attorneys for GitHub, Inc. and Microsoft Corporation

12
13                               UNITED STATES DISTRICT COURT

14                            NORTHERN DISTRICT OF CALIFORNIA

15                                       OAKLAND DIVISION

16
     J. DOE 1, et al.,                              Case No. 4:22-cv-6823-JST
17
                   Individual and                   Consolidated with Case No. 4:22-cv-7074-JST
18                 Representative Plaintiffs,
                                                    [PROPOSED] ORDER GRANTING
19         v.                                       DEFENDANTS GITHUB AND
                                                    MICROSOFT’S MOTIONS TO DISMISS
20   GITHUB, INC., et al.,                          PORTIONS OF THE FIRST AMENDED
                                                    COMPLAINT IN CONSOLIDATED
21                                Defendants.       ACTIONS
22
23   AND CONSOLIDATED ACTION
24
25
26
27
28                                                                     [PROPOSED] ORDER GRANTING
                                                                          GITHUB AND MICROSOFT’S
                                                                                   MTD AM. COMPL.
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 1          This matter came before the Court upon the Motion to Dismiss Portions of the First

 2   Amended Complaint by Defendants GitHub, Inc. (“GitHub”) and Microsoft Corporation

 3   (“Microsoft”), pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6). The Court,

 4   having considered the papers submitted in connection with the motions, including the responses

 5   and replies thereto, and all parties having had the opportunity to be heard, concludes as follows.

 6          Requests for damages in the Amended Complaint are dismissed pursuant to Rule 12(b)(1)

 7   because Plaintiffs fail to allege that they suffered any actual injury at the hands of either GitHub

 8   or Microsoft. The Amended Complaint does not adequately allege that Copilot has ever

 9   generated a copy of Plaintiffs’ code when Copilot is prompted by normal use, rather than when
10   used specifically to generate litigation-focused outputs. Plaintiffs engineered several examples of

11   Copilot outputs that resemble (but are different from) their code, but they do not allege that any

12   user could or would generate these same outputs. Plaintiffs may not “manufacture standing

13   merely by inflicting harm on themselves.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 416

14   (2013). In addition, Does 1 and 2 lack standing because their claims of injury rely on facts that

15   post-date the complaint; Plaintiffs may not belatedly amend jurisdictional facts to generate

16   standing where none was present at the time the Complaint was filed. See Newman-Green, Inc. v.

17   Alfonzo-Larrain, 490 U.S. 826, 831 (1989). Last, Plaintiffs cannot establish standing for their

18   unjust enrichment and negligence claims based on the act of training Copilot alone. The

19   Amended Complaint does not allege any cognizable injury to them that would result from the
20   mere training of a generative AI model based, in part, on code contained in Plaintiffs’

21   repositories. Accordingly, all requests for or assertions of entitlement to monetary relief are

22   dismissed from the case. Plaintiffs’ requests for punitive damages are independently dismissed

23   pursuant to Rule 12(b)(6) because Plaintiffs fail to plead the required intentional and “despicable”

24   behavior. Cal. Civ. Code § 3294(a), (c).

25          On the merits, Plaintiffs’ DMCA and state law tort claims must be dismissed. The

26   DMCA claim fails because Plaintiffs have not alleged removal or alteration of CMI from

27   identical copies of their works. Section § 1202(b) of the DMCA applies only when CMI is

28                                                   -2-                      [PROPOSED] ORDER GRANTING
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 1   removed or altered from an identical copy of a copyrighted work, not when the copy from which

 2   CMI is allegedly removed is merely an excerpt or modification of the original. See, e.g.,

 3   Faulkner Press, L.L.C. v. Class Notes, L.L.C., 756 F. Supp. 2d 1352, 1356, 1359 (N.D. Fla.

 4   2010); Design Basics, LLC v. WK Olson Architects, Inc., No. 17 C 7432, 2019 WL 527535, at *5

 5   (N.D. Ill. Feb. 11, 2019); Frost-Tsuji Architects v. Highway Inn, Inc., No. CIV. 13-00496, 2015

 6   WL 263556, at *3 (D. Haw. Jan. 21, 2015), aff’d, 700 F. App’x 674 (9th Cir. 2017); Kelly v.

 7   Arriba Soft Corp., 77 F. Supp. 2d 1116, 1122 (C.D. Cal. 1999). The Amended Complaint does

 8   not allege removal of CMI from identical copies of Plaintiffs’ works. Thus, Plaintiffs’ § 1202(b)

 9   claims are dismissed.
10          Plaintiffs’ state-law tort claims are preempted by the Copyright Act. The Copyright Act

11   preempts “legal or equitable rights that are equivalent to any of the exclusive rights within the

12   general scope of copyright … and come within the subject matter of copyright.” 17 U.S.C. §

13   301(a); see also Maloney v. T3Media, Inc., 853 F.3d 1004, 1010 (9th Cir. 2017). At core,

14   Plaintiffs state-law tort claims are built on the allegation that Defendants, without authorization,

15   copied, distributed, and created derivative works from code in Plaintiffs’ repositories, and thus

16   easily fall within category of claims identified in the Act as preempted. Copyright preemption

17   precludes Plaintiffs’ claims for tortious and negligent interference with economic advantage

18   (counts 4 and 5), unjust enrichment and negligence (counts 6 and 8), and unfair competition to the

19   extent based on state law tort claims (count 7, Am. Compl. ¶ 276(c), (d)).
20          In addition, Plaintiffs fail to state a claim as to any state-law tort. To begin with, Plaintiffs

21   have failed to comply with this Court’s directive to identify the applicable state law for their

22   common law claims, which his grounds for dismissal. ECF No. 95 at 4 n.5. Plaintiffs’ claims fail

23   on the merits as well. Plaintiffs’ have replaced their previous claim for tortious interference in

24   contractual relations with claims for intentional and negligent interference with prospective

25   economic relations (counts 4 and 5). But the Amended Complaint fails to identify any specific

26   business expectancy or third-party relationship with which GitHub and Microsoft allegedly

27   interfered, an essential element of either claim. See Ixchel Pharma, LLC v. Biogen, Inc., 9 Cal.

28                                                    -3-                      [PROPOSED] ORDER GRANTING
                                                                                  GITHUB AND MICROSOFT’S
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 1   5th 1130, 1141 (2020); Crown Imports, LLC v. Super. Ct., 223 Cal. App. 4th 1395, 1404 (2014).

 2            The unjust enrichment claim (count 6) must also be dismissed. In California, an unjust

 3   enrichment is “a quasi-contract claim seeking restitution,” ESG Cap. Partners, LP v. Stratos, 828

 4   F.3d 1023, 1038 (9th Cir. 2016) (citation omitted), which requires Plaintiffs to allege “the

 5   absence of any applicable and enforceable contract provisions,’” In re Bang Energy Drink Mktg.

 6   Litig., No. 18-cv-05758, 2020 WL 4458916, at *10 (N.D. Cal. Feb. 6, 2020) (quoting City of L.A.

 7   v. Sprint Sols., Inc., No. 17-cv-00811, 2019 WL 5568879, at *9 (E.D. Cal. Oct. 29, 2019)). The

 8   Amended Complaint includes no such allegation. Nor does the Amended Complaint allege facts

 9   to establish that Defendants benefited at Plaintiffs’ expense.
10            Plaintiffs lack standing to bring a UCL claim (count 7). UCL standing requires “lost

11   money or property.” Kwikset Corp. v. Super. Ct., 51 Cal. 4th 310, 324 (2011); Cal. Bus. & Prof.

12   Code § 17204. But the Amended Complaints’ allegations that “Plaintiffs and the Class have

13   suffered economic injury as a result of Defendants’ conduct,” Am. Compl. ¶ 281, are conclusory

14   and do not establish that critical element of a UCL action. Ashcroft v. Iqbal, 556 U.S. 662, 678

15   (2009). The UCL claim is therefore dismissed.

16            Finally, Plaintiffs’ negligence claim (count 8) must be dismissed because the Amended

17   Complaint fails to identify any pertinent legal duty which Defendants owed Plaintiffs. The

18   sources of duty identified in the Amended Complaint are grounded in the contractual obligations

19   (and rights) that define the terms of users’ relationship with GitHub. A duty in tort cannot be
20   derived from obligations in a contract absent some “special relationship” recognized in law—

21   which Plaintiffs do not claim here. See Foley v. Interactive Data Corp., 47 Cal. 3d 654, 682-94

22   (1988). In addition, any alleged violation of duty predicated on training Copilot with code

23   published in public GitHub repositories is expressly foreclosed by GitHub’s Terms of Service,

24   which expressly authorize its use of material in public repositories for analysis. See Am. Compl.

25   Ex. 1.

26            Accordingly, Defendants’ motion to dismiss is hereby GRANTED.

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28                                                   -4-                     [PROPOSED] ORDER GRANTING
                                                                                GITHUB AND MICROSOFT’S
                                                                                         MTD AM. COMPL.
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 6   IT IS SO ORDERED.

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 8   DATED: ________________                   __________________________________
                                               JON S. TIGAR
 9                                             United States District Judge
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28                                       -5-                 [PROPOSED] ORDER GRANTING
                                                                GITHUB AND MICROSOFT’S
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